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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
    UNITED STATES OF AMERICA,
                    -v-                                Criminal No. 21-CR-026 (CRC)
CHRISTOPHER MICHAEL ALBERTS,
                Defendant.



        DEFENDANT’S EMERGENCY UNOPPOSED MOTION FOR TEMPORARY
              MODIFICATION OF PRETRIAL RELEASE CONDITIONS
    Request for Temporary Removal of GPS Monitoring Device for Medical Procedure

       Comes now, Defendant, CHRISTOPHER MICHAEL ALBERTS, (hereinafter,

“Defendant” or “Alberts”), by and through undersigned counsel, hereby respectfully moves this

Court for an Order temporarily modifying Mr. Alberts pretrial release conditions to permit

removal of his electronic monitoring device on January 6, 2022, in order to permit him to

undergo MRIs. Alberts has complied with the conditions of his release, which justifies the

removal of the condition that he wears a GPS monitor, at least temporarily.


FACTS AND PROCEDURAL HISTORY

       United States Magistrate Judge G. Michael Harvey released the Defendant on conditions,

including that he stays away from the District of Columbia and, relevant to Defendant’s motion,

be monitored by a GPS device. (Minute Entry, Order Setting Conditions of Release, Jan. 7,

2021). The Court did not impose a curfew or otherwise restrict him to his residence. (Id.) Since

that time, the grand jury has indicted him for other offenses. Consequently, he has remained on

pretrial release, subject to the GPS monitoring requirement imposed by the Court in January

2021. (Government’s Opposition to Motion, ECF No. 44 p. 6.)
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ARGUMENT

        The Defendant has presented new information that merits a change in the terms of his

release. As such, pursuant to the Defendant’s upcoming medical procedure, this court may

modify conditions of pretrial release pursuant to 18 USC 3145(b) upon the motion of either

party. The modification may be temporary as requested herein.


        Wherefore, Alberts respectfully requests that this Court temporarily modify his

conditions of pretrial release as set forth herein.


Dated: December 20, 2022

                                                Respectfully submitted,

                                                                                    /s/ John M. Pierce
                                                                                        John M. Pierce
                                                                                John Pierce Law, P.C.
                                                                                 21550 Oxnard Street,
                                                                                  3rd Floor, PMB 172
                                                                           Woodland Hills, CA 91367
                                                                                  Tel: (213) 279-7846
                                                                          jpierce@johnpiercelaw.com
                                                                             Attorney for Defendant
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                                  CERTIFICATE OF SERVICE

        I hereby certify that, on December 20th, 2022, this motion and the accompany declaration was

filed via the Court’s electronic filing system, which constitutes service upon all counsel of record.


                                                  /s/ John M. Pierce
                                                  John M. Pierce
